Dear Ms. Urena:
You have written this office and requested an opinion whether employment as an Economic Development Specialist with the Kisatchie-Delta Regional Planning and Development District, Inc., (hereinafter referred to as Kisatchie-Delta), would prohibit one from seeking election to the Rapides Parish School Board.
LSA-R.S. 42:63(D) provides:
  D. No person holding an elective office in a political subdivision of this state shall at the same time hold another elective office or full-time appointive office in the government of this state or in the government of a political subdivision thereof.  No such person shall hold at the same time employment in the government of this state, or in the same political subdivision in which he holds an elective office.  In addition no sheriff, assessor, or clerk of court shall hold any office or employment under a parish governing authority or school board, nor shall any member of any parish governing authority or school board hold any office or employment with any sheriff, assessor, or clerk of court.
The position of school board member is considered an elective office under state law.  LSA-R.S. 42:62.  The Kisatchie-Delta Regional Planning and Development District, Inc., and its board is a political subdivision for purposes of the dual officeholding laws, as per LSA-R.S. 42:62(9) which provides:
  (9) "Political subdivision" means a parish, municipality, and any other unit of local government, including a school board and a special district, authorized by law  to perform governmental functions.  In addition for the purposes of this Part, mayor's courts, justice of the peace courts, district attorneys, sheriffs, clerks of court, coroners, tax assessors, registrars of voters, and all other elected parochial officials shall be separate political subdivisions.
The Rapides Parish School Board is also considered a political subdivision of the State.  (LSA-R.S. 42:62(9)).
Employment with Kisatchie-Delta would not prohibit an individual from seeking an elective office.  LSA-R.S. 42:63(D) restricts full time employment, however, within the same political subdivision when simultaneously holding an elective office.
It is the opinion of this office that since these two entities are not in the same political subdivision, a local school board member may  serve as a full-time employee of the Kisatchie-Delta Regional Planning and Development District, Inc.
I trust this addresses the concerns presented in your opinion request. Please feel free to contact this office in the future should you require further information or assistance.
Yours very truly,
                             RICHARD P. IEYOUB ATTORNEY GENERAL
                             ______________________________ ANGIE ROGERS LAPLACE Assistant Attorney General
RPI/ARL:dsc
DATE RELEASED: September 27, 2002